                      Case 2:08-mj-11595-DGG Document 1 Filed 10/17/08 Page 1 of 2
AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:08-M -11595(1)
                                                            §
(1) RAUL ERNESTO LANDAVERDE-GIRON                           §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about October 11, 2008 in Maverick county, in the WESTERN

DISTRICT OF TEXAS defendant(s) did, (track statutory language of offense) knowingly and willfully enter

the United States at a time and place other than as designated by Immigration Officers, he/she being an

alien in the United States in violation of Title 8 United States Code, Section(s) 1325(a)(1).



                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "On October 12, 2008, the defendant, RAUL ERNESTO LANDAVERDE-GIRON, a native and

citizen of EL SALVADOR, was arrested near CARRIZO SPRINGS, TEXAS. Subsequent investigation revealed

that the defendant is an alien illegally present in the United States. The Defendant last entered the United

States illegally from the Republic of Mexico by crossing the Rio Grande River at a time and place other than

as designated by Immigration Officers, near EAGLE PASS, TEXAS."


Continued on the attached sheet and made a part of hereof:                                         Yes   X No




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant

10/15/2008                                                            at   DEL RIO, Texas
File Date                                                                  City and State




DENNIS G. GREEN                                                            ______________________________
U.S. MAGISTRATE JUDGE                                                      Signature of Judicial Officer
                           Case 2:08-mj-11595-DGG Document 1 Filed 10/17/08 Page 2 of 2

AO 245H (Rev. 07/04)(W.D.TX) - Judgement in a Criminal Case for a Petty Offense (Short Form)




                                      UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                                              §
                                                                                      § CRIMINAL COMPLAINT
vs.                                                                                   § CASE NUMBER: DR:08-M -11595(1)
                                                                                      §
(1) RAUL ERNESTO LANDAVERDE-GIRON                                                     §

                                                        JUDGEMENT IN A CRIMINAL CASE
                                                        (For A Petty Offense) - Short Form

                 The defendant, RAUL ERNESTO LANDAVERDE-GIRON, was presented by counsel, Pacheco,
Manuel.

          The defendant pled guilty to the complaint on October 17, 2008. Accordingly, the defendant is
adjudged guilty of the following offense(s):

Title & Section                            Nature of Offense                                                Date of Offense

8 USC 1325                                 ILLEGAL ENTRY                                                    October 12, 2008


           As pronounced on October 17, 2008, the defendant is hereby commited to the custody of the
United States Bureau of Prisons for a term of 7 days with credit for time already served. The sentence is
imposed to the Sentencing Reform Act of 1984.

           The special assessment imposed pursuant to 18 U.S.C. § 3013 is hereby remited pursuant to
18 U.S.C. § 3573 because of reasonable efforts to collect this assessment are not likely to be effective.

                 The fine is waived because of the defendant's inability to pay.

           It is further ordered that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and
special assessments imposed by this Judgement are fully paid.

                 Filed and Signed on this the 17th day of October, 2008.




                                                                                                 ______________________________
                                                                                                 DENNIS G. GREEN
                                                                                                 U.S. MAGISTRATE JUDGE




Arresting Agency: DRBP - Del Rio Border Patrol
USCIS #: 25232280
